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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 LISA LYNCH,

       Plaintiff,

 vs.                                   CASE NO.: 6:22-CV-01123-CEM-
                                       DAB
 COASTAL WELLNESS AND
 LIFE COACHING CENTER,
 LLC, A Florida Limited
 Liability Company,

       Defendant.

                                  /

             PLAINTIFF’S OPPOSED MOTION FOR LEAVE
                  TO FILE AMENDED COMPLAINT

       Plaintiff, LISA LYNCH (“Plaintiff”), by and through undersigned

counsel, and pursuant to Federal Rule of Civil Procedure 15(a)(2), hereby files

this Motion for Leave to File Amended Complaint, and in support thereof

states as follows:

                         PROCEDURAL HISTORY

       1.    Plaintiff filed her original Complaint with the Eighteenth Judicial

 Circuit, in and for Brevard County, on January 24, 2022.

       2.    Defendant, COASTAL WELLNESS AND LIFE COACHING

 CENTER, LLC, removed the matter to this Court on June 29, 2022 [Doc 1].

       3.    Defendant has provided documents in the initial Rule 26
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 disclosure process that has led Plaintiff’s counsel to believe that a second

 Defendant should be added to the case.

       4.     Research conducted on January 4, 2022, on Sunbiz.org indicated

 that both Coastal Wellness and Life Coaching Center, LLC (the current

 Defendant) and Coastal Wellness, LLC operate out of the same physical

 location with the same Registered Agent and same Authorized Persons. See

 Exhibit A.

       5.     Both entities currently have an “active” status with the State of

 Florida.

       6.     Defendant has repeatedly indicated to Plaintiff’s counsel,

 amongst other possible defenses, that it does not meet the required revenue

 threshold of $500,000.00.

       7.     However, this possible defense has only been applied to Coastal

 Wellness and Life Coaching Center, LLC.

       8.     Of interest, “Coastal Wellness” filed with the Division of

 Corporations in Florida (Sunbiz.org) shortly after receiving a Demand Letter

 from Plaintiff’s counsel.

       9.     Plaintiff now seeks to amend her Complaint to add Coastal

 Wellness, LLC, as an additional Defendant as the combined revenues of both

 entities could exceed the revenue threshold of $500,000.00.

       10.    By filing this Motion, Plaintiff is not conceding that the current
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 Defendant alone fails to exceed the revenue threshold. Discovery will be

 conducted on that issue.

       11.    This Motion is not being filed to cause undue delayed.

       12.    Granting this Motion will not prejudice either party.

       13.    Plaintiff’s proposed Amended Complaint is attached as Exhibit B.

                          MEMORANDUM OF LAW

      Pursuant to Federal Rule of Civil Procedure 15(a)(2), a party “may

amend is pleading only with the opposing party’s written consent or the court’s

leave. The Court should freely five leave when justice to requires.” See F.R.C.P.

15(a)(2).    “The grant or denial of an opportunity to amend is within the

discretion of the district court.” Domke v. MRS BPO, LLC, No. 8:19-CV-1442-

T-36AEP, 2020 WL 513807, at *5 (M.D. Fla. Jan. 31, 2020). A district court

may deny a motion to amend on numerous grounds, including undue delay,

undue prejudice to the defendant(s), and futility of the amendment. Id.

Although the Court has discretion to deny pleading amendments under

Federal Rule of Civil Procedure 15(a), there is a strong preference in the

Eleventh Circuit for allowing them. Id. citing Burger King Corp. v. Weaver,

169 F.3d 1310, 1319 (11th Cir. 1999).

      Plaintiff seeks to amend her Complaint to add another Defendant after

Defendant. Plaintiff files this Motion immediately after her discovery of a

possible second related Defendant.
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                               CONCLUSION

      For the reasons stated above, Plaintiff respectfully requests this

Honorable Court allow leave to amend her Complaint to add a second

Defendant.

                    3.01(g) GOOD FAITH CONFERENCE

      The forgoing was discussed with counsel for Defendants and they oppose

to the relief sought herein.

      Dated this _12th_ day of January, 2023.

                                   Respectfully submitted by,

                                   Respectfully submitted,
                                   s/ Edward W. Wimp
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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this __ 12th__day of January, 2023, the

above was filed using the CM/ECF system which will send a copy via electronic

mail to Defense Counsel.


                                   /s/ Edward W. Wimp
                                   Edward W. Wimp, Esquire
